                                                                               Motion GRANTED.




                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


UNITED STATES OF AMERICA,                            )
                                                     )
v.                                                   )      No. 3:12cr00018-2
                                                     )      Judge Aleta A. Trauger
[2] CONNIE RENA STANTON,                             )
                                                     )


                     MOTION FOR AN ORDER OF FORFEITURE
                           CONSISTING OF A $692,226.34
                  UNITED STATES CURRENCY MONEY JUDGMENT

       The United States of America, by its undersigned counsel, pursuant to Rule 32.2(b)(1) and

(c)(1) of the Federal Rules of Criminal Procedure, moves, based upon the Court’s acceptance of

Defendant Connie Rena Stanton’s plea of guilty to Counts 1, 8, 10, 27 and 28 of the Indictment, for

an Order of Forfeiture consisting of $692,226.34 United States currency Money Judgment against

Defendant Connie Rena Stanton.

        A memorandum of law and facts is filed in support of this motion. Additionally, a proposed

Order is attached hereto for the Court’s convenience.

                                             Respectfully submitted,
                                             JERRY E. MARTIN
                                             United States Attorney

                                             By: /s Debra Teufel Phillips
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